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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                             TALLAHASSEE DIVISION



UNITED STATES OF AMERICA,

                                                         4:89cr4004-WS
vs.                                                      4:97cv109-WS/WCS

STEVEN DEAN,

        Defendant.

                                    /

                 ORDER DENYING CERTIFICATE OF APPEALABILITY

        Counsel filed a notice of appeal on Defendant's behalf, doc. 841, and was

granted leave to withdraw. Doc. 845.

        Defendant appeals the denial of his 28 U.S.C. § 2255 motion, so a certificate of

appealability is required. § 2253(c)(1)(B); Fed.R.App.P. 22(b).

        To obtain a COA under § 2253(c), a habeas prisoner must make a
        substantial showing of the denial of a constitutional right, a demonstration
        that, under Barefoot, includes showing that reasonable jurists could
        debate whether (or, for that matter, agree that) the petition should have
        been resolved in a different manner or that the issues presented were
        "'adequate to deserve encouragement to proceed further.'"

Slack v. McDaniel, 529 U.S. 473, 483-84, 120 S.Ct. 1595, 1603-04, 146 L.Ed.2d 542

(2000); quoting, Barefoot v. Estelle, 463 U.S. 880, 893, n. 4 103 S.Ct. 3383, 3394, n. 4,

77 L.Ed.2d 1090 (1983).
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         Defendant is not entitled to a certificate of appealability as he has not made a

substantial showing of the denial of a constitutional right. The court relies on the

reasons set forth in the supplemental report and recommendation, as corrected and

clarified on remand and adopted by the court. Docs. 799, 837, and 839. Leave to

proceed in forma pauperis on appeal should also be denied. Fed.R.App.P. 24(a)(3) and

(4).

         Since Defendant now proceeds pro se, the clerk is directed to send this order

directly to him. Defendant is advised that he may now seek a certificate of appealability

and leave to proceed in forma pauperis from the court of appeals. Fed.R.App.P.

22(b)(2) (after district court's denial, applicant may request a circuit judge to issue

certificate of appealability) and 24(a)(5) (party has 30 days from service of notice that

district court denied leave to appeal in forma pauperis to file a motion to so proceed in

the court of appeals).

         It is therefore ORDERED:

         A certificate of appealability SHALL NOT ISSUE, and leave to appeal in forma

pauperis is DENIED. The clerk shall send a copy of this order to Defendant, who now

appears pro se.

         DONE AND ORDERED this June 28, 2005.




                                            /s William Stafford
                                            WILLIAM STAFFORD
                                            SENIOR UNITED STATES DISTRICT JUDGE




4:89cr4004-WS and 4:97cv109-WS/WCS
